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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,
v. 21-CR-6097-DGL
STEPHEN REED PATTISON,

Defendant.

PLEA AGREEMENT

The defendant, STEPHEN REED PATTISON, and the United States Attorney for
the Western District of New York (hereinafter "the government") hereby enter into a plea

agreement with the terms and conditions as set out below.

I. THE PLEA AND POSSIBLE SENTENCE

1. The defendant agrees to plead guilty to Count 1 of the Indictment which
charges a violation of Title 18, United States Code, Section 922(g)(1) (possession of firearms
and ammunition by a convicted felon), for which the maximum possible sentence is a term of
imprisonment of 10 years, a fine of $250,000, a mandatory $100 special assessment, and a
term of supervised release of 3 years. The defendant understands that the penalties set forth

in this paragraph are the maximum penalties that can be imposed by the Court at sentencing.

2. The defendant will also admit the Forfeiture Allegation of the Indictment
which alleges that two firearms and 25 rounds of ammunition are subject to forfeiture
pursuant to Title 18, United States Code, Sections 924(d) and 3665, and Title 28, United

States Code, Section 2461(c).
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3. The defendant understands that, if it is determined that he has violated any of
the terms and conditions of his term of supervised release, he may be required to serve in
prison all or part of the term of supervised release, up to 2 years, without credit for time
previously served on supervised release. As a consequence, in the event the defendant is
sentenced to the maximum term of incarceration, a prison term imposed for a violation of
supervised release may result in the defendant serving a sentence of imprisonment longer than

the statutory maximum set forth in § 1 of this agreement.

II. ELEMENTS AND FACTUAL BASIS

4. The defendant understands the nature of the offense set forth in § 1 of this
agreement and understands that if this case proceeded to trial, the government would be
required to prove beyond a reasonable doubt the following elements of the crime:

First, that the defendant knowingly possessed firearms and/or ammunition, as
charged in the Indictment,

Second, at the time the defendant possessed the firearms and/or ammunition, the
defendant had previously been convicted of a crime punishable by imprisonment for a term
exceeding one year;

Third, at the time the defendant possessed the firearms and/or ammunition, the
defendant knew that he had previously been convicted of a crime punishable by imprisonment
for a term exceeding one year; and

Fourth, that the possession of the firearms and/or ammunition was in or affecting

commerce.
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FACTUAL BASIS

5. The defendant and the government agree to the following facts which form the
basis for the defendant’s guilty plea including relevant conduct:

POSSESSION OF FIREARMS AND AMMUNITION

a. Between on or about October 24, 2020, and on or about November 12,
2020, in Western District of New York, the defendant, STEPHEN
REED PATTISON, knowing that he had previously been convicted of
a crime punishable by a term of imprisonment exceeding one year,
unlawfully did knowingly possess, in and affecting commerce, firearms,
namely, one (1) Smith and Wesson ITC, Model Compass, 30-06 rifle,
bearing serial number U231831, and one (1) Winchester Ranger, Model
120, 12 gauge shotgun, bearing serial number L1929872; and
ammunition, namely, 25 rounds of 12 gauge shotgun ammunition
(Winchester).

b. On or about October 24, 2020, a female with the initials C.B., knowing
that the defendant was a convicted felon, gave the 30-06 rifle to the
defendant. Subsequently, on or about October 27, 2020, an individual
named Donald P. Oshier a/k/a Bam, knowing that the defendant was
a convicted felon, gave the defendant the 12 gauge shotgun and a box
containing 25 rounds of Winchester 12 gauge shotgun ammunition. The
defendant stored and possessed the 30-06 rifle, the 12 gauge shotgun and
the ammunition in the bedroom that he shared with his girlfriend,
Rochelle Pfenninger, at 552 Church Road, Hilton, New York, which
was the defendant’s residence.

Cc. On October 30, 2020, the defendant was arrested and detained on a
parole absconder warrant from Missouri. After his arrest and during his
detention at the Monroe County Jail, the defendant continued to
exercise dominion and control over the 30-06 rifle, the 12 gauge shotgun
and the ammunition.

d. On November 12, 2020, deputies from the Monroe County Sheriff's
Office, assisted by members of other local and federal law enforcement
agencies, executed a state search warrant at 552 Church Road. At that
time, they recovered, among other things, the 30-06 rifle, the 12 gauge
shotgun, and the box of ammunition in the defendant’s bedroom.

e. The defendant was convicted of Domestic Assault 2° (Mo. ANN. STAT.
§ 565.073), a class D felony offense, in the Thirteenth Judicial Circuit in
Boone County, Missouri, on December 16, 2016. That offense was
punishable by a term of imprisonment exceeding one year, the

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defendant receiving an actual sentence of three years in prison. The
defendant admits that he knew of this prior felony conviction — and the
fact that the conviction was punishable by a term of imprisonment
exceeding one year — at the time he possessed the firearms and
ammunition described in {§ 5(a) through 5(d), above.

f. Neither the State of New York, nor any other government authority has
restored the rights of the defendant to lawfully possess a firearm or
ammunition.

g. The 30-06 rifle, the 12 gauge shotgun and the ammunition were not

manufactured in the State of New York, and thus had traveled in
interstate commerce at some time before the defendant possessed them.

DEFENDANT’S ATTEMPTS TO OBSTRUCT JUSTICE

h. Before and after he was charged in federal court, the defendant
attempted to obstruct and impede the administration of justice with
respect to the investigation and prosecution of this case. In the days after
the search warrant at 552 Church Road, the defendant, who was
detained at the Monroe County Jail, made several telephone calls to
Rochelle Pfenninger. During those calls, the defendant told Pfenninger,
im sum and substance, to lie to law enforcement authorities and falsely
testify that the 30-06 rifle and the 12 gauge shotgun did not belong to
him and that they were just holding the firearms for C.B.

1. On November 25, 2020, the Honorable Marian W. Payson, United
States Magistrate Judge, Western District of New York, issued Criminal
Complaint No. 20-MJ-4223, which charged the defendant with
possession of firearms by a convicted felon. In the months that followed,
the defendant, among other things, sought to obtain a false affidavit
from Donald P. Oshier a/k/a Bam stating that Oshier gave the 12 gauge
shotgun and box of ammunition to Pfenninger after the defendant was
arrested and detained on the parole absconder warrant on October 30,
2020. The defendant also sought a similar false affidavit from C.B. with
respect to the 30-06 rifle.

j. In or about April 2021, the defendant sent a letter from jail to Oshier,
stating, in relevant part,

Everybody moved on and forgot about me its killing me
because I can beat this case. Rochelle friend is a notery I need
you to make a statement of where ever you got the 12 G
saying they gave it to you, you gave it to Rochelle when I
went to jail for home protection Nobodys gunna get in
trouble you guys are not felons you cant get in trouble none

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of you are felons only I am and thees guns were not at
Rochelles when I was there did I know you guys were
bringing them there (yes) and I thank you for doing what you
said you were gunna so Rochelle would be safe!! Have the
Feds come to speak to you? Or anybody? But anyway I will
not have you guys say or do anything to get you in trouble I
will go away and do the time but there is a lot of flaws in this
case and if you and Crystal be honest and write a statement
telling them that yes I asked you for you guys to bring them
there after I was arrested so she had protection because this
world is crazy!! Anyway I hope to here from you I really
need you guys to get this done so I can meet my daughter and
be the father I was trying to be and goto work[.]

k. At the defendant’s direction, Pfenninger sought to obtain the false
affidavits from C.B. and Oshier. On or about May 27, 2021, Oshier
signed a false affidavit stating, in sum and substance, that he brought
the 12 gauge shotgun and box of ammunition to 552 Church Road on
October 31, 2020. Oshier sent a copy of the false affidavit to Pfenninger
over Facebook, and the original false affidavit to Pfenninger through the
mail. The defendant’s purpose in seeking to obtain the false affidavit
from Oshier, and a similar false affidavit from C.B., was to obstruct and
impede the investigation and prosecution of this case by trying to
establish that he did not actually or constructively possess the 30-06 rifle,
the 12 gauge shotgun, or the 12 gauge shotgun ammunition, as charged
in the Criminal Complaint and the Indictment.

I. SENTENCING GUIDELINES

6. The defendant understands that the Court must consider but is not bound by

the Sentencing Guidelines (Sentencing Reform Act of 1984).

BASE OFFENSE LEVEL

7. The government maintains that Guidelines § 2K2.1(a)(4)(A) applies to the

offense of conviction and provides for a base offense level of 20.
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U.S.S.G. CHAPTER 3 ADJUSTMENTS

8. The government and the defendant agree that the following adjustment to the

base offense level does apply:

a. the two-level increase of Guidelines § 3C1.1 (obstruction of justice).
ADJUSTED OFFENSE LEVEL
9. Based on the foregoing, it is the understanding of the government and the

defendant that the adjusted offense level for the offense of conviction is 22.

ACCEPTANCE OF RESPONSIBILITY

10. Atsentencing, the government agrees not to oppose the recommendation that
the Court apply the two (2) level downward adjustment of Guidelines § 3E1.1(a) (acceptance
of responsibility) and further agrees to move the Court to apply the additional one (1) level
downward adjustment of Guidelines § 3E1.1(b), which would result in a total offense level of
19.

CRIMINAL HISTORY CATEGORY

11. It is the understanding of the government and the defendant that the
defendant's criminal history category is IV. The defendant understands that if the defendant
is sentenced for, or convicted of, any other charges prior to sentencing in this action the
defendant's criminal history category may increase. The defendant understands that the
defendant has no right to withdraw the plea of guilty based on the Court’s determination of

the defendant’s criminal history category.
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GUIDELINES' APPLICATION, CALCULATIONS AND IMPACT
12. It is the understanding of the government and the defendant that with a total
offense level of 19 and criminal history category of IV, the defendant's sentencing range would
be a term of imprisonment of 46 to 57 months, a fine of $10,000 to $100,000, and a period
of supervised release of 1 to 3 years. Notwithstanding this, the defendant understands that
at sentencing the defendant is subject to the maximum penalties set forth in ¥ 1 of this

agreement.

13. The government and the defendant agree to the correctness of the calculation
of the Sentencing Guidelines range set forth above. The government and the defendant,
however, reserve the right to recommend a sentence outside the Sentencing Guidelines range.
This paragraph reserves the right to the government and the defendant to bring to the attention
of the Court all information deemed relevant to a determination of the proper sentence in this

action.

14. The defendant understands that the Court is not bound to accept any
Sentencing Guidelines calculations set forth in this agreement and the defendant will not be

entitled to withdraw the plea of guilty based on the sentence imposed by the Court.

15. In the event that the Court contemplates any Guidelines adjustments,
departures, or calculations different from those agreed to by the parties above, the parties

reserve the right to answer any inquiries by the Court concerning the same.
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IV. STATUTE OF LIMITATIONS

16. Inthe event the defendant’s plea of guilty is withdrawn, or conviction vacated,
either pre- or post-sentence, by way of appeal, motion, post-conviction proceeding, collateral
attack or otherwise, the defendant agrees that any charges dismissed pursuant to this
agreement shall be automatically reinstated upon motion of the government and further
agrees not to assert the statute of limitations as a defense to any federal criminal offense which
is not time barred as of the date of this agreement. This waiver shall be effective for a period
of six months following the date upon which the withdrawal of the guilty plea or vacating of
the conviction becomes final.

V. REMOVAL

17. The defendant represents that he is a citizen of the United States. However, if
the defendant is not a citizen of the United States, the defendant understands that, if
convicted, the defendant may be removed from the United States, denied citizenship, and

denied admission to the United States in the future.

VI. GOVERNMENT RIGHTS AND RESERVATIONS
18. The defendant understands that the government has reserved the right to:

a. provide to the Probation Office and the Court all the information and
evidence in its possession that the government deems relevant
concerning the defendant's background, character and involvement in
the offense charged, the circumstances surrounding the charge and the
defendant's criminal history;

b. respond at sentencing to any statements made by the defendant or on
the defendant's behalf that are inconsistent with the information and
evidence available to the government;

c. advocate for a specific sentence consistent with the terms of this
agreement, including the amount of a fine and the method of payment;
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d. modify its position with respect to any sentencing recommendation or
sentencing factor under the Guidelines including criminal history
category, in the event that subsequent to this agreement the government
receives previously unknown information, including conduct and
statements by the defendant subsequent to this agreement, regarding the
recommendation or factor; and

€. oppose any application for a downward departure and/or sentence
outside the Guidelines range made by the defendant.

19. The defendant agrees that any financial records and information provided by
the defendant to the Probation Office, before or after sentencing, may be disclosed to the

United States Attorney’s Office for use in the collection of any unpaid financial obligation.

Vil. APPEAL RIGHTS

20. The defendant understands that Title 18, United States Code, Section 3742
affords a defendant a limited right to appeal the sentence imposed. The defendant, however,
knowingly waives the right to appeal and collaterally attack any component of a sentence
imposed by the Court which falls within or is less than the sentencing range for imprisonment,
a fine and supervised release set forth in Section III, J 12, above, notwithstanding the manner
in which the Court determines the sentence. In the event of an appeal of the defendant's
sentence by the government, the defendant reserves the right to argue the correctness of the

defendant's sentence.

21. The defendant understands that by agreeing to not collaterally attack the
sentence, the defendant is waiving the right to challenge the sentence in the event that in the
future the defendant becomes aware of previously unknown facts or a change in the law which

the defendant believes would justify a decrease in the defendant’s sentence.
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22. The defendant understands that, pursuant to this plea agreement, the
government has agreed not to charge the defendant with violations of Title, 18, United States
Code, Sections 875(c) (interstate threats) and 1512(k) (conspiracy to obstruct official
proceedings), committed up to the date of this agreement and about which the government is
aware. The maximum penalty for both of those offenses is a term of imprisonment of 20 years,

a term of supervised release of 3 years, and a $250,000 fine.

23. The government waives its right to appeal any component of a sentence
imposed by the Court which falls within or is greater than the sentencing range for
imprisonment, a fine and supervised release set forth in Section III, 12, above,
notwithstanding the manner in which the Court determines the sentence. However, in the
event of an appeal from the defendant's sentence by the defendant, the government reserves

its right to argue the correctness of the defendant's sentence.

VII. FORFEITURE PROVISION

FIREARMS AND AMMUNITION FORFEITURE

24. The defendant acknowledges that the defendant is the owner and/or exercised
dominion and control of the firearms and ammunition described below and agrees to
immediately criminally forfeit all of the defendant's right, title and interest to any and all
property which is subject to forfeiture pursuant to Title 18, United States Code, Sections
924(d) and 3665, and Title 28, United States Code, Section 2461(c), which is in the possession
and control of the defendant or the defendant's nominees, including but not limited to:

a. one (1) Smith and Wesson ITC, Model Compass, 30-06 rifle, bearing
serial number U231831;

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b. one (1) Winchester Ranger, Model 120, 12 gauge shotgun, bearing serial
number L1929872; and

Cc. ammunition, namely, 25 rounds of 12 gauge shotgun ammunition
(Winchester).

25. After the acceptance of the defendant’s guilty plea, and pursuant to Rule
32.2(b)(2) of the Federal Rules of Criminal Procedure, the Court will issue a Preliminary
Order of Forfeiture for the items listed above. The defendant hereby waives any right to notice
of such Preliminary Order of Forfeiture. The defendant further consents and agrees that the
Preliminary Order of Forfeiture and a Final Order of Forfeiture shall issue and become final
as to the defendant prior to sentencing and agrees that it shall be made part of the defendant’s
sentence and included in the judgment pursuant to Rule 32.2(b)(4) of the Federal Rules of
Criminal Procedure. The defendant further agrees to waive any time restrictions or
requirements as provided in Title 18, United States Code, Section 983, any notice provisions
in Rules 32.2 and 43(a) regarding notice of the forfeiture in the charging instrument,
announcement of the forfeiture at sentencing, and incorporation of the forfeiture in the
judgment. The defendant acknowledges that the defendant understands that the forfeiture of
property is part of the sentence that may be imposed in this case and waives any failure by the
Court to advise the defendant of this, pursuant to Rule 11(b)(1)(), at the time the guilty plea
is accepted. Forfeiture of the defendant's property shall not be treated as satisfaction of any
fine, restitution, cost of imprisonment, or any other penalty the Court may impose upon the

defendant in addition to forfeiture.

26. The defendant knowingly, intelligently, and voluntarily waives his right to a
jury trial on the forfeiture of the assets. The defendant knowingly, intelligently, and

voluntarily waives all constitutional, legal and equitable defenses to the forfeiture of these
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assets in any proceeding, including any jeopardy defense or claim of double jeopardy, whether
constitutional or statutory, as to this criminal proceeding or any related civil or administrative
proceeding. The defendant further agrees to waive any claim or defense under the Eighth
Amendment to the United States Constitution, including any claim of excessive fine regarding

the forfeiture of assets by the United States.

27. The defendant agrees that the above-described property is subject to forfeiture
and waives any and all statutory and constitutional rights, including but not limited to time
restrictions and notice provisions with respect to the final disposition or forfeiture of the above

property. The defendant further agrees to the destruction of the above referenced property.

28. The defendant agrees that in the event this plea agreement is voided for any
reason, the agreement for forfeiture, abandonment and disposition of the firearms and shells

survives and shall be given full be given full force and effect.

IX. TOTAL AGREEMENT AND AFFIRMATIONS

29. This plea agreement represents the total agreement between the defendant,
STEPHEN REED PATTISON, and the government. There are no promises made by anyone
other than those contained in this agreement. This agreement supersedes any other prior
agreements, written or oral, entered into between the government and the defendant.

TRINI E. ROSS
United States Attorney
Western District of New York

By: bug A hn
BRETT A. A ee
Assistant U.S. Attorney

Dated: November §_, 2021
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I have read this agreement, which consists of pages 1 through 13. I have had a full
opportunity to discuss this agreement with my attorney, Steven G. Slawinski, Esq. I agree
that it represents the total agreement reached between myself and the government. No
promises or representations have been made to me other than what is contained in this
agreement. I understand all of the consequences of my plea of guilty. I fully agree with the

contents of this agreement. I am signing this agreement voluntarily and of my own free will.

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“STHPHEN REED PATTISON STEVEN G. SLAWINSKI, ESQ.
Defendant Attorney for the Defendant
Dated: November S. 2021 Dated: November &., 2021

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